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           EXHIBIT 6
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   1              UNITED STATES DEPARTMENT OF JUSTICE
                  ANTITRUST DIVISION, WASHINGTON, D.C.
   2

   3       PURSUANT TO CIVIL INVESTIGATION DEMAND NO. 30762

   4

   5                         "HIGHLY CONFIDENTIAL"

   6

   7                    ORAL VIDEOTAPED DEPOSITION

   8                            JERRY DISCHLER

   9                           FEBRUARY 3, 2022

  10

  11       ORAL VIDEOTAPED DEPOSITION OF JERRY DISCHLER,

  12 produced as a witness at the instance of the United

  13 States Department of Justice and duly sworn, was taken

  14 in the above-styled and numbered cause on the 3rd day of

  15 February, 2022, from 9:02 a.m. to 2:48 p.m. PST, before

  16 Melinda Barre, Certified Shorthand Reporter in and for

  17 the State of Texas, reported by computerized stenotype

  18 machine, all parties appearing remotely via web

  19 videoconference, pursuant to the rules of procedure and

  20 the provisions stated on the record or attached hereto.

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                                                    Page 97                                                                Page 99
  1 Q. Underneath that there is some text in normal             1 A. To my knowledge, no.
  2 type and some in italics. Does this indicate anything       2 Q. Is Google currently considering any potential
  3 about who authored particular texts as between you and      3 divestitures with respect to any of Google's ad tech
  4 Ms. Romain?                                                 4 products or services?
  5 A. I believe so.                                            5           MS. ELMER: Instruct the witness not to
  6 Q. And what does it indicate?                               6 answer to the extent that the answer would call for
  7 A. I believe the italicized text comes from                 7 information that may be protected by the attorney/client
  8 Danielle Romain, and the normal text is from me.            8 privilege or the work product doctrine.
  9 Q. You see there's a line that states, "A few               9 A. So, I mean, any information on that topic would
  10 quick thoughts on strategic value." And that's in          10 be protected by attorney/client privilege.
  11 italics, so that's from             . Is that right?       11 Q (By Mr. Nierlich) To clarify, I'm not asking
  12 A. That is correct.                                        12 for legal advice concerning potential divestitures but
  13 Q. And under that first dash, "Obvious but                 13 simply asking as a matter of Google's business if you're
  14 important point. The buy-side platforms have been          14 aware of Google considering -- currently considering any
  15 critical compliments to our sell-side businesses."         15 potential divestitures with respect to Google's ad tech
  16            Do you see that?                                16 products or services?
  17 A. I do.                                                   17           MS. ELMER: And I give the same
  18 Q. Did you have any understanding of what that             18 instruction.
  19 meant when you received this e-mail?                       19 A. My previous answer stands.
  20 A. My understanding is limited to the statement            20 Q. (By Mr. Nierlich) And that is that you are
  21 that          -- or that         -- apologies -- makes     21 declining to answer the question on the basis of
  22 here after the colon in the sentence.                      22 assertion of privilege?
  23 Q. Do you have any other understanding of how              23 A. That is correct.
  24 Google's buy-side and sell-side platforms are critical     24           MS. ELMER: And the work product doctrine.
  25 complements for one another?                               25 Q. (By Mr. Nierlich) Has Google considered any

                                                    Page 98                                                               Page 100
   1 A. Yes.                                                    1 divestitures with respect to any of Google's ad tech
   2 Q. And what is that?                                       2 products or services within the past three years?
   3 A. That the sell side, our sell-side technology            3             MS. ELMER: Same instruction.
   4 serves publishers. Those publishers primarily are on       4    A. Same answer.
   5 the open internet and use the advertising revenue from     5    Q. (By Mr. Nierlich) And, again, you're taking
   6 their publishing platform to provide free access to        6 your counsel's advice not to answer the question?
   7 content in exchange for advertising revenue and that       7    A. That is correct.
   8 that is beneficial both to advertisers and to consumers.   8    Q. What is the future of display review?
   9 Q. And in what way are the buy-side platforms              9    A. I'm not sure what the future of display review
  10 critical complements to that effort on the sell side?      10 is.
  11 A. The buy-side platform is employed by the                11       Q. Are you familiar with something called the
  12 advertiser and, therefore, having healthy publishers       12 future of display review that was conducted in
  13 gives them something to buy.                               13 connection with Mr. Pichai?
  14 Q. Is there any other way in which you're aware of         14       A. Possibly. I would have to see a document or
  15 the buy-side and sell-side platforms being complements     15 meeting notes in order to understand given the very
  16 for one another?                                           16 high-level description of the topic.
  17 A. No.                                                     17             MR. NIERLICH: Kacey, can you upload
  18 Q. Is Google currently considering any potential           18 Exhibit 8, please.
  19 acquisitions in the ad tech space?                         19       Q. (By Mr. Nierlich) Mr. Dischler, we will ask
  20 A. Not to my knowledge, no.                                20 the court reporter to mark as Exhibit 8 a document that
  21 Q. Has Google considered any potential                     21 the document control number is beginning at
  22 acquisitions in the ad tech space in the past three        22 GOOG-DOJ-AT-00048018. Please let me know when you've
  23 years?                                                     23 received Exhibit 8.
  24 A. I'm not sure.                                           24             (Exhibit 8 marked)
  25 Q. To your knowledge?                                      25       A. I have received it. I am currently reviewing
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            7KH QDPH ³6ULQL´ VKRXOG UHDG ³6ULGKDU´ WUDQVFULSWLRQ HUURU
            7KH ZRUG ³IUHTXHQW´ VKRXOG UHDG ³IUHTXHQWO\´ WUDQVFULSWLRQ HUURU
             7KH QDPH ³&KULVWLQD 6XH´ VKRXOG UHDG ³&KULVWLQD +VX´ WUDQVFULSWLRQ HUURU
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  UHDVRQV WKHUHIRU




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